                                     CJA 20 APPOINTMENT OF AND AUTHORITY TO PAY COURT APPOINTED COUNSEL
                     Case 2.8:04-cr-00235-DKC
1. CIR./DIST./DIV. CODE      PERSON REPRESENTED
                                                Document 1501 Filed 04/05/12    Page 1 of 1
                                                                      VOUCHER NUMBER
    MDX                                   DOBIE, LAVON
3. MAG. DKT./DEF. NUMBER                                   4. DIST. DKT./DEF. NUMBER                   5. APPEALS DKT./DEF. NUMBER                                6. OTHER DKT. NUMBER
                                                 RWT 8:04-000235-009
7. IN CASE/MATTER OF (Case Name)                           8. PAYMENT CATEGORY                         9. TYPE PERSON REPRESENTED                                 10. REPRESENTATION TYPE
                                                                                                                                                                       (See Instructions)
    US v. Martin, et al.                                       Felony                                        Adult Defendant                                         Motion to Correct or Reduce
11. OFFENSE(S) CHARGED (Cite U.S. Code, Title & Section)                      If more than one offense, list (up to five) major offenses charged, according to severity of offense.
    1) 21 846=CD.F -- CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCE

12. ATTORNEY'S NAME (First Name, M.I., Last Name, including any suffix)                               13. COURT ORDER
    AND MAILING ADDRESS                                                                                 X     O Appointing Counsel                             C Co-Counsel
    SEDDIQ, MIRRIAM Z.                                                                                        F Subs For Federal Defender                      R Subs For Retained Attorney
                                                                                                              P Subs For Panel Attorney                        Y Standby Counsel
    6411 Orchard Avenue
    Suite 200                                                                                          Prior Attorney's Name:
    Tacoma Park MD 20912                                                                                      Appointment Date:
                                                                                                           Because the above-named person represented has testified under oath or has
                                                                                                      otherwise satisfied this court that he or she (1) is financially unable to employ counsel and
      Telephone Number:                                                                               (2) does not wish to waive counsel, and because the interests of justice so require, the
                                                                                                      attorney whose name appears in Item 12 is appointed to represent thisDigitally
                                                                                                                                                                                  personsigned  by Donna
                                                                                                                                                                                          in this  case, P. Shearer

                                                                                                                                     Donna P. Shearer
14. NAME AND MAILING ADDRESS OF LAW FIRM (only provide per instructions)                              or                                                                        DN: cn=Donna P. Shearer, o=USDC, ou=CJA
                                                                                                           Other (See Instructions)                                             Supervising Attorney,
    LAW OFFICES OF MIRRIAM Z. SEDDIQ                                                                                                                                             email=donna_shearer@mdd.uscourts.gov, c=US
                                                                                                                                                                                 Date: 2012.04.05 11:02:51 -04'00'
    6411 Orchard Avenue                                                                                     Signature of Presiding Judicial Officer or By Order of the Court
    Suite 103                                                                                                          03/22/2012
    Tacoma Park MD 20912                                                                                     Date of Order                                   Nunc Pro Tunc Date
                                                                                                       Repayment or partial repayment ordered from the person represented for this service at
                                                                                                       time of appointment.        YES            NO
                                     CLAIM FOR SERVICES AND EXPENSES                                                                                           FOR COURT USE ONLY

                                                                                                HOURS                  TOTAL               MATH/TECH               MATH/TECH                 ADDITIONAL
          CATEGORIES (Attach itemization of services with dates)                               CLAIMED                AMOUNT               ADJUSTED                ADJUSTED                   REVIEW
                                                                                                                      CLAIMED               HOURS                   AMOUNT
15.       a. Arraignment and/or Plea
          b. Bail and Detention Hearings
          c. Motion Hearings
I
n         d. Trial
C         e. Sentencing Hearings
o
u         f. Revocation Hearings
r         g. Appeals Court
t
          h. Other (Specify on additional sheets)

                  (Rate per hour = $    125.00 )                         TOTALS:
16.       a. Interviews and Conferences
O
u         b. Obtaining and reviewing records
t
o         c. Legal research and brief writing
f
          d. Travel time
C
o         e. Investigative and Other work                 (Specify on additional sheets)
u
r
t
                  (Rate per hour = $    125.00 )                         TOTALS:
17.       Travel Expenses            (lodging, parking, meals, mileage, etc.)
18.       Other Expenses             (other than expert, transcripts, etc.)

                               GRAND TOTALS (CLAIMED AND ADJUSTED):
19. CERTIFICATION OF ATTORNEY/PAYEE FOR THE PERIOD OF SERVICE                                                       20. APPOINTMENT TERMINATION DATE                          21. CASE DISPOSITION
                                                                                                                         IF OTHER THAN CASE COMPLETION
    FROM                        TO

22. CLAIM STATUS                    Final Payment                 Interim Payment Number                             Supplemental Payment
      Have you previously applied to the court for compensation and/or remimbursement for this case?         YES             NO If yes, were you paid?            YES              NO
      Other than from the court, have you, or to your knowledge has anyone else, received payment (compensation or anything or value) from any other source in connection with this
      representation?          YES              NO     If yes, give details on additional sheets.
      I swear or affirm the truth or correctness of the above statements.
      Signature of Attorney:                                                                                             Date:

                                                                    APPROVED FOR PAYMENT -- COURT USE ONLY

23. IN COURT COMP.                   24. OUT OF COURT COMP.                     25. TRAVEL EXPENSES                         26. OTHER EXPENSES                            27. TOTAL AMT. APPR / CERT



28.    SIGNATURE OF THE PRESIDING JUDICIAL OFFICER                                                                          DATE                                          28a. JUDGE / MAG. JUDGE CODE


29. IN COURT COMP.                   30. OUT OF COURT COMP.                     31. TRAVEL EXPENSES                         32. OTHER EXPENSES                            33. TOTAL AMT. APPROVED


34. SIGNATURE OF CHIEF JUDGE, COURT OF APPEALS (OR DELEGATE) Payment                                                        DATE                                          34a. JUDGE CODE
       approved in excess of the statutory threshold amount.



      c/m 4/5/12
      jnb
